Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

UNITED STATES DISTRICT COURT

for the

SOUTHERN District of IOWA

CENTRAL Division
) Case No.
(to be filled in by the Clerk's Office)
)
TOMIKA HINDSON "Pro Se" )
Plaintiff(s) )
(Write the full name of each plaintiff who is filing this complaint.
If the names of ail the plaintiff's cannot fit in the space above, ) Jury Trial: (check one) Yes [] No
please write “‘see attached” in the space and attach an additional )
page with the full list ofnames.) )
-V- )
RECEIVED
) SEP 29 2023
PORTFOLIO RECOVERY ASSOCIATES, LLC )
5 e
CORPORATION SERVICE COMPANY ) DAC ERA GE THIG? BE GUL
Defendant(s) )
(Write the full name of each defendant who is being sued. If the )

names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list af names.)

COMPLAINT FOR A CIVIL CASE

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name TOMIKA HINDSON
Street Address P.O. BOX 3754
City and County URBANDALE, POLK
State and Zip Code IOWA 50323
Telephone Number 928-875-5124
E-mail Address HINDSON.TOMIKA74@YAHOO.COM

Page 1 of 9
Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

B.

The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title ¢if known). Attach additional pages if needed.

Defendant No. |

Name PORTFOLIO RECOVERY ASSOCIATES, LLC
Job or Title (if known)

Street Address 120 CORPORATE BOULEVARD SUITE 100
City and County NORFOLK, NORFOLK COUNTY

State and Zip Code VIRGINIA 23502

Telephone Number 800-772-1413

E-mail Address (ifknown)

Defendant No. 2

Name CORPORATION SERVICE COMPANY
Job or Title (if known) AGENT

Street Address 505 5™ AVENUE SUITE 729

City and County DES MOINES, POLK COUNTY

State and Zip Code IOWA 50309

Telephone Number 800-927-9800

E-mail Address (if known)

Defendant No. 3

Name

Job or Title (if known)

Street Address

City and County

State and Zip Code

Telephone Number

E-mail Address (if knawn)

Defendant No. 4

Name

Job or Title (if known)

Street Address

City and County

State and Zip Code

Telephone Number

Page 2 of 9
Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

Il.

E-mail Address (ifknown)

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)

><] Federal question [_] Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

This Court has jurisdiction over this matter Pursuant to 15 USC § 1692k and 28 USC § 1331. Venue is
proper in this district under 28 USC § 1391(b) as a substantial part of the events or omissions giving
rise to the claim occurred, also the Plaintiff resides in the States where the event takes place.

B. If the Basis for Jurisdiction Is Diversity of Citizenship
l. The Plaintiff(s)
a. If the plaintiff is an individual
The plaintiff, (are) , 1s a citizen of the

State of (name)

b. If the plaintiff is a corporation
The plaintiff, (ame) , IS incorporated

under the laws of the State of (name) ,

and has its principal place of business in the State of (name)

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2. The Defendant(s)

a. If the defendant is an individual

Page 3 of 9
Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

The defendant, (name) , isa citizen of

the State of (name) . Oris a citizen of

(foreign nation)

b. If the defendant is a corporation
The defendant, (ame) , is incorporated under
the laws of the State of (name) , and has its

principal place of business in the State of (ame)

Or is incorporated under the laws of (foreign nation)

and has its principal place of business in (name)

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

Ill. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number cach claim and
write a short and plain statement of cach claim in a separate paragraph. Attach additional pages if needed.

Page 4 of 9
September 11, 2023
I, JURISDICTION AND VENUE:

This Court has jurisdiction over this matter Pursuant to 15 USC § 1681p and 28 USC §§ 1331 and 1337. Venue
is proper in this district under 28 USC § 1391(b).

Il. COMPLAINT AND DEMAND FOR JURY TRIAL FOR THE FOLLOWING CLAIM(S):

Fair Debt Collection Practices Act: 15 USC § 1692b(2), 15 USC § 1692b(5), 15 USC § 1692e(2)(A), & 15 USC
8 1692e(10).

III. PARTIES:

l. Plaintiff (Tomika Hindson) is a natural person, a resident of Urbandale, Iowa and is a “consumer” as
defined by the FDCPA 15 USC § 1692a(3).

2. Plaintiff (Tomika Hindson), files this present Civil Complaint against Defendant(s) PORTFOLIO
RECOVERY ASSOCIATES, LLC for several violations of the Fair Debt Collection Practices Act (“FDCPA”)
15 USC § 1692 as aforementioned.

3. Defendant (PORTFOLIO RECOVERY ASSOCIATES) is a Foreign Limited Liability Company with a
Branch located in Delaware, A Registered address of 120 Corporate Boulevard Suite 100 of Norfolk, Virginia
23502.

4. Defendant (HEREINAFTER) (PRA,LLC) have an Agent Named CORPORATION SERVICE
COMPANY located at 505 Sth Avenue Suite 729 of Des Moines, lowa 50309.

5: Defendant (PRA, LLC), a company engaged via use of USPS Mail, Phone, Electronic Communication
to collecting alleged debt as defined by 15 USC § 1692a(5) from consumers.

6. Defendant (PRA, LLC), is a large Debt Collection Agency that purchases and or collects charged-off
debts from various creditors like Credit Card Companies, Retailers, Banks, Medical Accounts and Installment
Loans ete,.

7; Plaintiff is informed and believes that at all relevant times, each and every Defendant was acting as an
agent and/or employee of each of the other Defendants and was acting within the course and scope of said
agency and/or employment with the full knowledge and consent of each of the other Defendants.

IV. FACTUAL ALLEGATIONS:

8. In July 2023, Plaintiff received a collection letter from Defendant, dated July 4, 2023 in regards to an
alleged debt owed to Capital One (“First Collection Letter”). The letter indicated that “Mail this form to:
PORTFOLIO RECOVERY ASSOCIATES, LLC-140 CORPORATE BLVD-NORFOLK, VA 23502 attached as
EXHIBIT A.

Q, In response to the “First Collection Letter”, on July 20, 2023 Plaintiff mailed a letter to Defendant
(“Plaintiff Response Letter”) to the address indicated in the First Collection Letter. In Plaintiff's Response
Letter, Plaintiff stated a refusal to pay the alleged debt and a request to cease further communications regarding
the alleged debt. Plaintiff also requested verification of the alleged debt in writing. Plaintiff's Response Letter
was dated July 15, 2023 and was sent via USPS certified mail, as evidenced by Certified Tracking Receipt

Page 5 of 9
#9589-0710-5270-0895-8 108-59, attached as EXHIBIT B.

10. On August 25, 2023, Plaintiff received a second letter from the Defendant, dated July 15, 2023 (“Second
Letter’) due to the timing, Plaintiff believes the Second Letter and the Plaintiff's Response Letter may have
crossed in the mail attached as EXHIBIT C.

[ik On August 29, 2023, Plaintiff received a third letter from Defendant, dated August 22, 2023 (“Third
Letter’) attached as EXHIBIT D.

12. On August 28, 2023, Plaintiff received Plaintiff's Response Letter that had been sent to the Defendant
on July 20, 2023 via certified mail. The returned letter now had a yellow label stating, “Unable To Forward” and
“Return To Sender”. Upon inspecting the returned Ictter, Plaintiff then examined the addresses listed on the
other correspondence from the Defendant. Plaintiff noticed the addresses differed between the First, Second and
third correspondence to which the Plaintiff's Response Letter was originally mailed attached as EXHIBIT E.

13. Upon examining the addresses listed on the Second and Third correspondence, Plaintiff noted these
letters directed payment to “PORTFOLIO RECOVERY ASSOCIATES, LLC-P.O. BOX 12914-NORFOLK,
VA 23541” attached as EXHIBIT C and EXHIBIT D respectively.

14. Plaintiff reviewed the tracking history of Plaintiff's Response Letter that was sent to the Defendant via
certified mail on July 20, 2023. The tracking history showed the letter arrived in Norfolk, Virginia on or around
August 3, 2023 and was then re-routed back to the Plaintiff by August 10, 2023 attached as EXHIBIT F.

15, Upon inspecting the Second and Third correspondences, Plaintiff identified apparent violations of the
Fair Debt Collection Practices Act (*FDCPA”) contained therein. Specifically, the correspondence appeared to
violate:

: 15 USC § 1692b(2) — By stating Plaintiff owes a debt;
° 15 USC § 1692b(5) — Using language and symbol on any envelope or it’s contents of any

communication effected by the mails or telegram that indicates that the debt collector is in the debt collection
business or that the communication relates to the collection of a debt.

15 USC § 1692e(2)(A) — False representation of the Character, Amount, or legal status of a debt.

. 15 USC § 1692e(10) — The use of any false representation or deceptive means to collect or attempt to
collect any debt or to obtain information concerning a concerning a consumer.

These apparent FDCPA Violations formed the basis for Plaintiff bringing this Complaint against Defendant.

COUNT I: VIOLATION OF 15 USC § 1692b(2)

16. Plaintiff realleges and reincorporates by referencing paragraphs 1-15 as though fully set forth herein.
iT, Defendant, sent Plaintiff a collection letter regarding an alleged debt, which letter stated Plaintiff owed a

debt, in violation of 15 USC § 1692b(2).

18. On July 15, 2023, Plaintiff sent a response letter requesting Defendant cease further communications,
which response letter was returned as undeliverable on August 28, 2023.

19, Despite Plaintiff's request to cease communication, Defendant sent Plaintiff at least two additional
correspondences dated July 15, 2023 and August 22, 2023.

20, Defendant provided inconsistent return addresses for the Plaintiff's response versus its own letters,

Page 6 of 9
indicating an invalid or inaccurate address for communication.

21. Defendant's continued communications despite Plaintiff's request, and use of deceptive return
addresses, constitutes violations of 15 USC § 1692b(2).

22. Additionally, the return addresses used by the Defendant in the correspondence(s) were deceptive. The
first correspondence dated July 4, 2023 instructed the Plaintiff to mail it to “PORTFOLIO RECOVERY
ASSOCIATES, LLC-140 CORPORATE BLVD-NORFOLK, VA 23502” (EXHIBIT A). However, the
Defendant's subsequent correspondences, dated July 15, 2023 (EXHIBIT C) and August 22, 2023 (EXHIBIT
D), displayed the address “PORTFOLIO RECOVERY ASSOCIATES, LLC-P.O. BOX 12914-NORFOLK, VA
23541” as the return address.

COUNT IL: VIOLATION OF 15 USC § 1692b(5)
23. Plaintiff realleges and reincorporates by referencing paragraphs 1-22 as if fully set forth herein.
24. On July 15, 2023 and August 22, 2023, Defendant used language and or symbols on the envelope and or
it’s contents of the communication was from a debt collector, thus falsely representing the nature of the
communication.
25. The Defendant’s correspondences, dated July 15, 2023 (EXHIBIT C) and August 22, 2023 (EXHIBIT
D), displayed the address “PORTFOLIO RECOVERY ASSOCIATES, LLC-P.O. BOX 12914-NORFOLK, VA
23541” as the return address.
26. By using language and symbols within the contents of the correspondence that indicated the
communication was from a debt collector, the Defendant violated 15 USC § 1692b5).

COUNT IIL VIOLATION OF 15 USC § 1692e(2)(A)

27. Plaintiff realleges and reincorporates by referencing paragraphs 1-26 as if fully set forth herein.

28. The Defendant, is in violation of 15 USC § 1692¢e(2)(A), falsely represented the character, amount, or
legal status of the alleged debt.

29, The Defendant's correspondence(s) contained false representations regarding the character, amount, or
legal status of the alleged debt.

30. By making false representations regarding the character, amount, or legal status of the alleged debt, the
Defendant violated 15 USC § 1692e(2)(A).

COUNT IV: VIOLATION OF 15 USC § 1692e(10)

31. Plaintiff realleges and reincorporates by referencing paragraphs 1-30 as if fully set forth herein.

42. On or around July 15, 2023, and August 22, 2023, Defendant sent Plaintiff correspondence regarding an
alleged debt.

33, The Defendant's correspondence(s) contained false representations or deceptive means to collect the
alleged debt or obtain information concerning the Plaintiff.

34. By using false representations or deceptive means to collect or attempt to collect the alleged debt,

Page 7 of 9
Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

Defendant violated 15 USC § 1692e(10)’s prohibition on employing false, deceptive, or misleading
representations or means in debt collection.

IV. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

WHEREFORE, Plaintiff respectfully requests that the Court enter judgment against Defendant as follows:

l. Declaring that the Defendant violated the FDCPA specifically 15 USC § 1692b(2), 1692b(5), 1692¢(2)
and 1692e(10) as alleged herein;

2. Plaintiff respectfully request that the Court award Actual Damages against Defendant Pursuant to 15
USC § 1692k(a)(1) in an amount to be determined by the jury for Defendants’ violations of the FDCPA,
including but not limited to reimbursement for postage costs associated with this legal action;

3. Plaintiff respectfully request that the Court award additional Statutory Damages of $1,000 per FDCPA
violation Pursuant to 15 USC § 1692k(a)(2)(A) against Defendant for each violation of the FDCPA proven at
trial:

4, Award Plaintiff such other and further relief as may be just and proper.

V. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending. modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing:

Signature of Plaintiff SER Wo)
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Page 8 of 9
Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

Printed Name of Plaintiff FA es ed Pf iSO ey

B. For Attorneys

Date of signing:

Signature of Attorney

Printed Name of Attorney
Bar Number

Name of Law Firm

Street Address
State and Zip Code

Telephone Number
E-mail Address

Page 9 of 9
AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Southern District of lowa

TOMIKA HINDSON "Pro Se"

Plaintiff(s)
Ws

PORTFOLIO RECOVERY ASSOCIATES, LLC
CORPORATION SERVICE COMPANY

Civil Action No,

em ee ee

Defendant(s)

SUMMONS IN A CIVIL ACTION

- Ne ' ; ug) PORTFOLIO RECOVERY ASSOCIATES, LLC
To: (Defendant's name and address) 420 CORPORATE BOULEVARD SUITE 100
NORFOLK, VIRGINIA 23502

CORPORATION SERVICE COMPANY
505 5TH AVENUE SUITE 729
DES MOINES, IOWA 50309

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: TOMIKA HINDSON “Pro Se"

P.O, BOX 3754
URBANDALE, IOWA 50323

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: 09/11/2023

Signature of Clerk or Deputy Clerk

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()))

This summons for (name of individual and title, if any)

was received by me on (date)

© I personally served the summons on the individual at (place)

on (date) ; Or

(1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

CO I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) > OF
(1 T returned the summons unexecuted because ; or
C Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
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a Tamika Hivdson
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